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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

MARY ELOISA, ON BEHALF OF                             '
SONYA GONZALES                                        '
                                                      '
               Plaintiff,                             '
                                                      '
V.                                                    'CIVIL ACTION NO. 5:20-cv-00082
                                                      '
HILL COUNTRY OUTREACH, INC.                           '
                                                      '
               Defendant.                             '

                            PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE DISTRICT COURT JUDGE:

       NOW COMES MARY ELOISA, ON BEHALF OF SONYA GONZALES, Plaintiff in the

above-styled and numbered cause (hereinafter called “Plaintiff”), complaining of HILL

COUNTRY OUTREACH, INC. (hereinafter called “Defendant”), and for cause of action, would

respectfully show unto the Court the following:

                                               I.
                                         JURISDICTION

       The Court should exercise jurisdiction over this action pursuant to Section 1332 of Title 28

of the United States Code, for the following reasons:

       A.      This is a suit between citizens of different states. Plaintiff is a resident of

               Albuquerque, New Mexico. Defendant is a domestic Texas corporation. Diversity

               jurisdiction of the action is therefore conferred on the court by 28 U.S.C. §1332.

       B.      The amount in controversy exceeds the sum or value of $75,000.00, exclusive of

               interest, costs of Court, and attorneys’ fees.

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                                              II.
                                            VENUE

       Venue is proper in this district pursuant to 28 U.S.C. §1391(a)(2), as a substantial part of

the events or omissions giving rise to the claim occurred in Kerrville, Kerr County, Texas.

                                              III.
                                         THE PLAINTIFF

       Plaintiff MARY ELOISA resides in Santa Fe, NM, and is the mother of SONYA

GONZALES. Ms. Eloisa has power of attorney to act on behalf of her daughter, SONYA

GONZALES, and files this lawsuit on her behalf.

                                               IV.
                                         THE DEFENDANT

       Defendant HILL COUNTRY OUTREACH, INC. is a Texas corporation with its principle

place of business at 600 Leslie Dr., Kerrville, TX 78028. Service of Citation can be had by

serving its agent, Frederick Loren Henneke, 840 Earl Garrett, San Antonio, TX 78028. Service

of Citation is requested at this time.

                                               V.
                                             FACTS

       On or about July 23, 2018, SONYA GONZALES moved into HILL COUNTRY

OUTREACH, INC., located at 600 Leslie Dr., Kerrville, TX 78028, which is an assisted living

facility. On January 17, 2019, Ms. Gonzales was sitting in the common area of the facility

watching TV when another resident, Leo Lucan Martinez, who Plaintiff later discovered had a

known violent history and propensity for unpredictable violence, viciously attacked her with a

pocketknife. He repeatedly stabbed her over 32 times on her face, neck, hands, arms, and upper

extremities. She was airlifted to University Hospital for care and treatment. She had to undergo


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surgeries for repair of severed nerves and tendons. She continues to suffer from serious and

permanent injuries sustained from the attack.

                                        VI.
                              NEGLIGENCE OF DEFENDANT

       Plaintiff believes and alleges that the Defendant, HILL COUNTRY OUTREACH, INC.,

acting by and through its administrators, managers, agents, and/or employees, committed certain

acts and/or omissions constituting negligence and/or gross negligence in the care of Plaintiff

SONYA GONZALES, and such negligence included, but is not limited to the following:

       1.      Failing to properly and adequately screen and monitor the assailant.
       2.      In permitting the assailant to reside at the facility, knowing that he had a violent
               history and propensity for unpredictable violence.
       3.      Failing to warn other residents and family of the assailant’s violent background and
               history.
       4.      Failing to properly and adequately protect SONYA GONZALES and the other
               residents.
       5.      Failing to ensure the safety of SONYA GONZALES and the other residents.

       Plaintiff would show that each and all of the above and foregoing acts and/or omissions on

the part of the Defendant herein constitute negligence and/or gross negligence, and each and all

were a direct and proximate cause of the injury and damages suffered by Plaintiff SONYA

GONZALES.

                                          VII.
                                  RESPONDEAT SUPERIOR

       Plaintiff would show that HILL COUNTRY OUTREACH, INC., acting by and through its

administrators, managers, employees, agents, ostensible agents, and/or agents by estoppel,

committed certain acts and/or omissions constituting negligence and/or gross negligence in the

care provided to Plaintiff SONYA GONZALES; and, therefore, Defendant is liable to Plaintiff

under the doctrine of respondeat superior for the negligent and/or gross negligent acts and/or

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omissions of its administrators, managers, employees, agents, ostensible agents, and/or agents by

estoppel.

                                            VIII.
                                          DAMAGES

       Plaintiff would show that as a direct and proximate result of the negligence and/or gross

negligence on the part of the agents, servants, and/or employees of Defendant, Plaintiff SONYA

GONZALES has been caused to suffer physical pain and mental anguish, and in reasonable

probability, she will continue to suffer the same in the future, for which Plaintiff MARY ELOISA,

ON BEHALF OF SONYA GONZALES, seeks recovery herein.

       Further, Plaintiff has been caused to suffer physical impairment, and in reasonable

probability, she will continue to suffer the same in the future, for which Plaintiff MARY ELOISA,

ON BEHALF OF SONYA GONZALES, seeks recovery herein.

       Further, Plaintiff has been caused to suffer disfigurement, and in reasonable probability,

she will continue to suffer the same in the future, for which Plaintiff MARY ELOISA, ON

BEHALF OF SONYA GONZALES, seeks recovery herein.

       Further, Plaintiff has been caused to incur reasonable and necessary medical, doctor,

hospital, and therapy expenses, and in reasonable probability, she will continue to incur the same

in the future, for which Plaintiff MARY ELOISA, ON BEHALF OF SONYA GONZALES, seeks

recovery herein.

       Plaintiff has been gravely injured and damaged and believes that she has suffered damages

in a sum in excess of $75,000.00.




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                                              IX.
                                         JURY DEMAND

       Plaintiff hereby requests a trial by jury.

                                               X.
                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant HILL

COUNTRY OUTREACH, INC, be duly cited to appear and answer herein, and that upon final

hearing of this cause, Plaintiff have and recover judgment of and from Defendant in an amount

within the jurisdictional limits of this court, for pre-judgment and/or post-judgment interest as

allowed by law, plus costs of court, and for such other and further relief, both general and special,

at law or in equity, to which Plaintiff may be justly entitled.

                                               Respectfully submitted,

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